               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 1 of 34




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                     Holding a Criminal Term

                          Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA                        :   CRIMINAL NO. 21-cr-175 (TJK)
                                                :
             v.                                 :   VIOLATIONS:
                                                :
ETHAN NORDEAN,                                  :   COUNT 1:
also known as “Rufio Panman,”                   :   18 U.S.C. § 2384
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9)              :   (Seditious Conspiracy)
                                                :
JOSEPH BIGGS,                                   :   COUNT 2:
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9)              :   18 U.S.C. § 1512(k)
                                                :   (Conspiracy to Obstruct Official
ZACHARY REHL,                                   :   Proceeding)
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9)              :
                                                :   COUNT 3:
CHARLES DONOHOE,                                :   COUNT 2:
(Counts 1, 2, 3, 4, 5, 6, 7)                    :   18 U.S.C. §§ 1512(c)(2), 2
                                                :   (Obstruction of an Official Proceeding and
ENRIQUE TARRIO,                                 :   Aiding and Abetting)
also known as “Henry Tarrio”                    :
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9)              :   COUNT 4:
                                                :   18 U.S.C. § 372
DOMINIC PEZZOLA,                                :   (Conspiracy to Prevent an Officer from
also known as “Spaz,”                           :   Discharging Any Duties)
also known as “Spazzo,”                         :
also known as “Spazzolini,”                     :   COUNT 5:
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10)          :   COUNT 3:
                                                :   18 U.S.C. §§ 231(a)(3), 2
                   Defendants.                  :   (Obstruction of Law Enforcement During
                                                :   Civil Disorder and Aiding and Abetting)
                                                :
                                                :   COUNTS 4, 56, 7:
                                                :   18 U.S.C. §§ 1361, 2
                                                :   (Destruction of Government Property and
                                                :   Aiding and Abetting)
                                                :
                                                :   COUNTS 6, 78, 9:
                                                :   18 U.S.C. § 111(a)(1)
                                                :   (Assaulting, Resisting, or Impeding
                                                :   Certain Officers)
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 2 of 34




                                                  :
                                                  :
                                                  :    COUNT 810:
                                                  :    18 U.S.C. § 2112
                                                       (Robbery of Personal Property of the
                                                       United States)


                         SECONDTHIRD SUPERSEDING INDICTMENT
       The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and at or about the times stated below:

                                           Introduction
                      The Transfer of Presidential Power in the United States
       1.      The 2020 United States Presidential Election occurred on November 3, 2020. As of

November 7, 2020, the incumbent President Donald J. Trump was projected to have lost the

Presidential Election.

       2.      The United States Constitution and federal statutes codify the procedures and dates

governing the transfer of presidential power in the United States. The Twelfth Amendment

requires presidential electors to meet in their respective states and certify “distinct lists of all

persons voted for as President, and of all persons voted for as Vice-President, and of the number

of votes for each.”

       3.      On December 14, 2020, the presidential electors of the Electoral College met in the

state capital of each state and in the District of Columbia and formalized the result of the 2020

U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won

sufficient votes to be elected the next President and Vice President of the United States.

       4.      The Twelfth Amendment also requires that the Vice President “shall, in the

presence of the Senate and House of Representatives, open all the certificates and the votes shall

then be counted.” Title 3, Section 15 of the United States Code provides that the United States


                                                 2
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 3 of 34




Congress must convene during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on

the sixth day of January succeeding every meeting of the electors,” with the Vice President

presiding, to count the electoral votes, resolve any objections, certify their validity, and announce

the result (“Certification of the Electoral College vote”). The Twentieth Amendment provides that

the terms of the President and Vice President shall accordingly end at noon on the 20th day of

January, “and the terms of their successors shall then begin.”




                                                 3
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 4 of 34




                                              Background

       5.      ENRIQUE TARRIO, ETHAN NORDEAN, JOSEPH BIGGS, ZACHARY REHL,

CHARLES DONOHOE, DOMINIC PEZZOLA, Charles Donohoe, and other individuals known

and unknown to the grand jury, are affiliated through their membership in the Proud Boys

organization. The Proud Boys describes itself as a “pro-Western fraternal organization for men

who refuse to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys

members routinely attend rallies, protests, and other events, some of which have resulted in

violence involving members of the group. There is an initiation process for new members of the

Proud Boys, and members often wear black and yellow polo shirts or other apparel adorned with

Proud Boys logos and slogans to public events.

       6.      Through at least January 6, 2021, ENRIQUE TARRIO was the national chairman

of the Proud Boys organization. Throughout the United States, there are local Proud Boys chapters,

which are typically led by chapter “presidents.” Each chapter has a degree of autonomy insofar as

the president of a local chapter governs that chapter in its geographic location.

       7.      ETHAN NORDEAN, also known as “Rufio Panman,” is a 31-year-old resident of

Auburn, Washington. On January 6, 2021, NORDEAN was a member of the Proud Boys Elders

chapter and president of his local chapter.

       8.      JOSEPH BIGGS, also known as “Sergeant Biggs,” is a 38-year-old resident of

Ormond Beach, Florida. On January 6, 2021, BIGGS was a member of the Proud Boys and a self-

described organizer of certain Proud Boys events.

       9.      ZACHARY REHL is a 36-year-old resident of Philadelphia, Pennsylvania. On

January 6, 2021, REHL was the president of his local chapter of the Proud Boys.




                                                  4
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 5 of 34




       10.      CHARLES DONOHOE is a 34-year-old resident of Kenersville, North Carolina.

On January 6, 2021, DONOHOE was the president of his local chapter of the Proud Boys.

       11.10. ENRIQUE TARRIO is a 38-year-old resident of Miami, Florida. On January 6,

2021, TARRIO was the national chairman of the Proud Boys.

       11.      DOMINIC PEZZOLA, also known as “Spaz,” also known as “Spazzo,” also

known as “Spazzolini,” is a 44-year-old resident of Rochester, New York, and a member of his

local chapter of the Proud Boys.

       12.      Charles Donohoe is a 34-year-old resident of Kenersville, North Carolina. On

January 6, 2021, Donohoe was the president of his local chapter of the Proud Boys.

       13.      From at least in or around November 2020, TARRIO used his platform as the leader

of the Proud Boys to publicly post statements in response to the projected results of the 2020

Presidential Election, e.g.:

             a. On November 6, 2020, TARRIO posted a message that read, “The media constantly

                accuses us of wanting to start a civil war. Careful what the fuck you ask for we

                don’t want to start one...but we will sure as fuck finish one.”

             b. On November 12, 2020, TARRIO posted a message that read, “Fuck Unity. No

                quarter. Raise the black flag.”

             c. On November 16, 2020, TARRIO posted a message that read, “If Biden steals this

                election, [the Proud Boys] will be political prisoners. We won’t go quietly…I

                promise.”

             d. On November 25, 2020, TARRIO reposted a social media post by Joe Biden that

                stated, “We need to remember: We’re at war with a virus – not with each other.”




                                                  5
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 6 of 34




                TARRIO then posted, “No, YOU need to remember the American people are at

                war with YOU. No Trump...No peace. No quarter.”

       14.      From at least in or around November 2020, NORDEAN, BIGGS, and REHL used

their platform as regional leaders of the Proud Boys to publicly post statements in response to the

projected results of the 2020 Presidential Election, e.g.:                                               Formatted: Font: 12 pt

             a. On November 5, 2020, BIGGS posted on social media, “It’s time for fucking War

                if they steal this shit,” referring to the Presidential election.

             b. On November 24, 2020, BIGGS, in response to a social media post calling for unity

                in response to the results of the presidential election, posted, “No bitch. This is

                war.”

             c. On November 27, 2020, NORDEAN posted on social media, “We tried playing

                nice and by the rules, now you will deal with the monster you created. The spirit of

                1776 has resurfaced and has created groups like the Proudboys and we will not be

                extinguished. We will grow like the flame that fuels us and spread like love that

                guides us. We are unstoppable, unrelenting and now . . .unforgiving. Good luck to

                all you traitors of this country we so deeply love . . . you’re going to need it.”

             d. On November 27, 2020, REHL posted on social media, “Hopefully the firing

                squads are for the traitors that are trying to steal the election from the American

                people.”

       15.      On December 12, 2020, TARRIO and other members of the Proud Boys attended

an election-related rally, sometimes referred to as a “Million MAGA” rally, in Washington, D.C.

The December 12 rally was organized as a protest of the presidential election, and the date of the

protest coincided with the certification of the Electoral College results in each of the fifty states.



                                                    6
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 7 of 34




       16.      While in Washington, D.C. on December 12, 2020, several Proud Boys were

involved in an altercation in which Proud Boys members were injured, including a knife wound

suffered by PERSON-1.

       17.      While in the District of Columbia on December 12, 2020, TARRIO participated

with a group that included members of the Proud Boys in the theft and destruction of a banner that

read, “#BLACKLIVESMATTER,” which was property of Asbury United Methodist Church in

Washington, D.C.

       18.      On December 17, 2020, TARRIO posted a message on social media in which he

admitted that he was the “person responsible for the burning” of the banner. TARRIO claimed that

he took action because he would not “standby and watch them burn another city.” TARRIO ended

his message by stating, “Come get me if you feel like what I did was wrong. We’ll let the public

decide.”

       19.      On December 19, 2020, plans were announced for a Stop the Steal protest event in

Washington, D.C., on January 6, 2021, to coincide with Congress’s Certification of the Electoral

College vote.

       20.      Beginning in late December 2020, TARRIO and a handful of other members of the

Proud Boys created a new chapter for the Proud Boys that would consist of members from across

the country. The new chapter was referred to as the Ministry of Self Defense or MOSD (“MOSD”).

TARRIO described the MOSD as a “national rally planning” chapter that would include only

“hand selected members.”

       21.      The small group of leadership of the MOSD included TARRIO, NORDEAN,

BIGGS, REHL, and DONOHOEDonohoe. Immediately after forming the MOSD, TARRIO and

the leadership of the MOSD began preparations for January 6, 2021. TARRIO also created an



                                                7
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 8 of 34




encrypted messaging group for MOSD leaders (the “MOSD Leaders Group”) where MOSD

leaders could communicate.

       22.     On January 4, 2021, TARRIO was arrested in Washington, D.C., and charged with

destruction of property and possession of two large capacity magazines in D.C. Superior Court.

He was briefly detained after his arrest. TARRIO was released at approximately 5 p.m. on January

5, after having been ordered to leave the District of Columbia.

       23.     TARRIO did not immediately comply with the order to leave the District of

Columbia. After being turned away from the Phoenix Park Hotel, TARRIO travelled to a nearby

underground parking garage, where he met with Elmer Stewart Rhodes III, the founder and leader

of the Oath Keepers, and other individuals known and unknown to the grand jury, for

approximately 30 minutes. During this encounter, a participant referenced the Capitol.

       24.     Thereafter, TARRIO left the District of Columbia and travelled to Baltimore,

Maryland. Subsequently, TARRIO’s designated MOSD leaders, and other individuals whose

identities are known to the grand jury, carried out the MOSD leadership’s objective.




                                                8
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 9 of 34




                                        COUNT ONE
                                 (l8 U.S.C. S 1512(k))§ 2384)
                    (Seditious Conspiracy to Obstruct Official Proceeding)

       25.     The introductory allegations set forth in paragraphs 1 through 24 are re-alleged and

incorporated by reference as though set forth herein.

                                          The Conspiracy

       26.     From in and around December 2020, through in and around January 2021, in the              Formatted: Font: 12 pt

District of Columbia and elsewhere, the defendants,

                                      ETHAN NORDEAN,
                                        JOSEPH BIGGS,
                                       ZACHARY REHL,
                                     CHARLES DONOHOE,
                                      ENRIQUE TARRIO,
                                             and
                                     DOMINIC PEZZOLA,

did knowingly conspire, confederate, and agree, with other persons known and unknown to the

Grand Jury, to oppose by force the authority of the Government of the United States and by force

to prevent, hinder, and delay the execution of any law of the United States.

did knowingly combine, conspire, confederate, and agree with each other and other persons known          Formatted: Font color: Black

and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official

proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United

States Code, Section 1512(c)(2).

                                    Purpose of the Conspiracy

       27.     The purpose of the conspiracy was to stop, delay, and hinder the Certification of

the Electoral College vote.

       27.     The purpose of the conspiracy was to oppose the lawful transfer of presidential

power by force, by opposing the authority of the Government of the United States and by



                                                  9
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 10 of 34




preventing, hindering, or delaying by force the execution of the laws governing the transfer of

power, including the Twelfth Amendment to the Constitution and Title 3, Section 15 of the United

States Code.

                                       Manner and Means

       28.      TARRIO, NORDEAN, BIGGS, REHL, DONOHOEDonohoe, and PEZZOLA,

with others whose identities are known and unknown to the grand jury, carried out the conspiracy

through the following manner and means, among others, by:

             a. Encouraging members of the Proud Boys and others to attend the Stop the Steal

                protest in Washington, D.C., on January 6;

             b. Using websites, social media, and other electronic communications to raise funds

                to support travel and equipment purchases for the trip to Washington, D.C.;

             c. Obtaining paramilitary gear and supplies—including concealed tactical vests,

                protective equipment, and radio equipment—for the January 6 attack;

             d. Dressing “incognito” on January 6, rather than wearing Proud Boys colors that had

                been prominently displayed at previous events;

             e. Traveling to Washington, D.C., prior to the January 6 attack;

             f. Engaging in meetings and encrypted communications in Washington, D.C., in the

                days leading up to January 6, and on the morning of January 6, to plan for the

                January 6 attack;

             g. Using programmable handheld radios, encrypted messaging applications, and other

                communications equipment to communicate and coordinate the January 6 attack;

             h. Directing, mobilizing, and leading members of the crowd onto Capitol grounds and

                into the Capitol;



                                                10
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 11 of 34




             i. Dismantling metal barricades that had been deployed to demarcate a restricted area

                to protect law enforcement and occupants of the Capitol;

             j. Storming past barricades, Capitol Police, and other law enforcement officers in

                efforts to disrupt the proceedings at the Capitol;

             k. Destroying property, including a metal fence and a window; and

             l. Assaulting law enforcement officers.

                             Acts in Furtherance of the Conspiracy
       29.      On December 19, 2020, shortly after plans for the rally on January 6 were publicly

announced, BIGGS sent a private message to TARRIO in which he stated that the Proud Boys

“recruit losers who wanna drink.” BIGGS suggested, “Let’s get radical and get real men.”

       30.      The next day, on December 20, 2020, TARRIO created an encrypted message

group called MOSD, which included NORDEAN, BIGGS, REHL, DONOHOEDonohoe,

PERSON-2, and PERSON-3. PERSON-1 was subsequently added to the message group for

MOSD leaders (the “MOSD Leaders Group”). TARRIO explained that the MOSD was a “national

rally planning committee” of the Proud Boys that would include “hand selected members.”

       31.      On December 20, 2020, PERSON-3 posted a message to the MOSD Leaders Group

that stated, “I am assuming most of the protest will be at the capital building given what’s going

on inside.” In response, TARRIO proposed a video chat, which would take place on December 21,

to discuss the MOSD and January 6.

       32.      On December 26, 2020, TARRIO announced that the leadership of the MOSD

would reside in two, 3-man councils that would work together. The Marketing Council consisted

of TARRIO, BIGGS, and NORDEAN. The Operations Council included REHL and PERSON-3.

Other members of MOSD leadership, such as DONOHOEDonohoe, PERSON-1, and PERSON-

2, were designated regional leaders.

                                                 11
                 Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 12 of 34




        33.      On December 27, 2020, TARRIO created another encrypted messaging group to

recruit potential members of the MOSD (the “MOSD Prospect Group”). TARRIO stressed that

members of the chapter were expected to follow directions of MOSD leadership, which TARRIO

and others emphasized by telling members, among other things, to “Fit in [] or fuck off.”

        34.      On December 27, 2020, DONOHOEDonohoe reposted a message to prospective

members in the MOSD Prospect Group in which he stated that the D.C. government was expected

to limit access to Washington, D.C., on January 6. DONOHOE’sDonohoe’s message stated “They

want to limit the presence so that they can deny Trump has the People's support. We can't let them

succeed. This government is run FOR the People, BY the People....Congress needs a reintroduction

to that fact.”

        35.      On December 27, 2020, NORDEAN created an online crowdfunding campaign that

solicited donations for “Protective gear and communications” to be used by the Proud Boys on

January 6, 2021. NORDEAN shared a link to this crowdsourcing campaign on his social media

page and encouraged others to share it on their social media pages.

        36.      On December 28, 2020, TARRIO posted a message in the MOSD Prospect Group

in which he stated that the “DC trip” would consist of “two groups”—the MOSD and everyone

else—and that no one should be in colors.

        37.      On December 29, 2020, TARRIO posted a message on social media that the Proud

Boys planned to “turn out in record numbers on Jan 6th but this time with a twist . . . . We will not

be wearing our traditional Black and Yellow. We will be incognito and we will be spread across

downtown DC in smaller teams. And who knows . . . we might dress in all BLACK for the

occasion.” At different times, NORDEAN, BIGGS, REHL, and DONOHOEDonohoe reiterated

that Proud Boys members should avoid wearing Proud Boys colors on January 6, 2021.                      Formatted: Font: Times New Roman, 12 pt




                                                 12
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 13 of 34




       38.     On December 29, 2020, TARRIO posted a message to the MOSD Prospect Group

to notify prospective members of a virtual meeting on December 30 to explain “how this all

works.” TARRIO advised the group that the MOSD “will have a top down structure” and advised

prospects that, “if that’s something you’re not comfortable with” they should not bother attending

the live session. TARRIO advised that “upper tier leadership” would consist of a three-person

“Operations” section led by REHL, PERSON-3 and one other person. TARRIO advised that the

“Marketing” section would be led by TARRIO, BIGGS, and NORDEAN. TARRIO advised that

the “second tier” leadership would consist of eight regional members.                                Formatted: Font: Times New Roman, 12 pt

       39.     On December 29, 2020, PEZZOLA sent a direct message to TARRIO on an

encrypted messaging system: “Hey boss, [I’m] one of the guys bringing the [decorative] shield

down … I'll be in dc w a few other brothers from NY.”                                                Formatted: Font: Times New Roman, 12 pt

       40.     On December 30-31, 2020, PEZZOLA traveled to North and South Carolina, to

visit PERSON-1. PEZZOLA brought with him a decorative shield to present to PERSON-1.                 Formatted: Font: Times New Roman, 12 pt

       41.     Between December 30 and December 31, 2020, TARRIO communicated multiple

times with an individual whose identity is known to the grand jury. On December 30, 2020, this

individual sent TARRIO a nine-page document titled, “1776 Returns.” The document set forth a

plan to occupy a few “crucial buildings” in Washington, D.C., on January 6, including House and

Senate office buildings around the Capitol, with as “many people as possible” to “show our

politicians We the People are in charge.” After sending the document, the individual stated, “The

revolution is important than anything.” TARRIO responded, “That’s what every waking moment

consists of . . . I’m not playing games.”

       42.     On December 30, 2020, TARRIO convened a video call for prospective members

of the MOSD. TARRIO, DONOHOEDonohoe, and others in MOSD leadership emphasized that



                                               13
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 14 of 34




members of the MOSD were to follow the commands of leadership. Once again, TARRIO and

others in MOSD leadership advised prospective members that they could “fit in or fuck off.” REHL

warned prospective members that January 6 was going to be a “completely different operation”

and that the Proud Boys would not be conducting a “night march and flexing our [arms] and shit.”

       43.     On December 30, 2020, REHL posted a link to an online fundraiser with the

campaign name of “Travel Expenses for upcoming Patriot Events.” The campaign generated over

$5,500 in donations between December 30, 2020, and January 4, 2021.

       44.     On December 31, 2020, TARRIO posted a picture of PEZZOLA from the

December 12 event in Washington, D.C. Along with the picture, TARRIO posted the message:

“Lords of War. #J6 #J20,” which hashtags were an apparent reference to January 6, 2021, the date

of the Certification of the Electoral College vote, and January 20, 2021, the date of the Presidential

Inauguration

       45.     On January 1, 2021, TARRIO posted separate messages on social media that read,

“Let’s bring this new year with one word in mind...Revolt” and later, “New Years Revolution.”

       46.     On January 2, 2021, TARRIO created an encrypted message group for recruits who

had been accepted to become members of the MOSD (“MOSD Members Group”). TARRIO

posted a message that read, “Open for business.” The group included at least 65 members,

including TARRIO, NORDEAN, BIGGS, REHL, DONOHOEDonohoe, and PERSONS 1 – 3,

PEZZOLA was subsequently added to the MOSD Members Group by PERSON-1.                                    Formatted: Font: Times New Roman, 12 pt

       47.     On January 2, 2021, TARRIO provided NORDEAN with photographs of a family

member’s debit card so that NORDEAN could book his flight to Washington, D.C. NORDEAN

used the debit card to book his flight.




                                                 14
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 15 of 34




       48.     On January 3, 2021, members of the MOSD exchanged messages in the MOSD

Members Group various statements about attacking the Capitol. In response to the question, “what

would they do [if] 1 million patriots stormed and took the capital building. Shoot into the crowd?

I think not,” PERSON-3 stated, “They would do nothing because they can do nothing.”

       49.     On January 3, as efforts to plan for January 6 intensified in the MOSD leadership

chat, TARRIO stated in the MOSD Leaders Group that he wanted to wait until January 4 to make

final plans. In response, at 7:10 p.m., PERSON-3 posted a voice note to the MOSD Leaders Group

in which he stated:

               I mean the main operating theater should be out in front of the house
               of representatives. It should be out in front of the Capitol building.
               That’s where the vote is taking place and all of the objections. So,
               we can ignore the rest of these stages and all that shit and plan the
               operations based around the front entrance to the Capitol building. I
               strongly recommend you use the national mall and not Pennsylvania
               avenue though. It’s wide-open space, you can see everything
               coming from all angles.
REHL responded that the Capitol was a “good start.”
       50.     On January 4, 2021, TARRIO posted a voice note to the MOSD Leaders Group at

7:36 a.m. in which he stated, “I didn’t hear this voice note until now, you want to storm the

Capitol.”

       51.     On January 4, 2021, within one hour of TARRIO’s arrest pursuant to a warrant

issued by D.C. Superior Court, DONOHOEDonohoe created a new group on the encrypted

messaging application for MOSD leadership (“New MOSD Leaders Group”) that did not initially

include TARRIO. DONOHOEDonohoe then advised the other leaders, “Each one of us should

personally clear our history of that MOSD chat.” REHL responded, “you gotta manually delete

each message from each chat” and then added, “since [TARRIO] knew the cops were for him,




                                                15
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 16 of 34




hopefully he logged outta” the encrypted messaging service. DONOHOEDonohoe responded,

“Well at least they won’t get our boots on ground plans because we are one step ahead of them.”

         52.   DONOHOEDonohoe then created a new group on the encrypted messaging

application for the MOSD members and advised the group to leave the earlier group because “we

are nuking that one.” PERSON-3 subsequently advised that he had “removed everyone from the

other group” and that it had been “nuked.” After its creation, the new MOSD members group

(“New MOSD Members Group”) included approximately 90 participants in total, including

NORDEAN, BIGGS, REHL, DONOHOEDonohoe, PEZZOLA, and PERSONS 1 – 3.

         53.   At 7:15 p.m. on January 4, DONOHOEDonohoe posted a message on New MOSD

Members Group that read, “Hey have been instructed and listen to me real good! There is no

planning of any sorts. I need to be put into whatever new thing is created. Everything is

compromised and we can be looking at Gang charges.” DONOHOEDonohoe then wrote, “Stop

everything immediately” and then “This comes from the top.” DONOHOE’sDonohoe’s messages

in the New MOSD Members Group repeated those posted by a participant in the MOSD Members

Group.

         54.   On January 4, 2021, at 8:20 p.m., PERSON-2 posted a message in the New MOSD

Leaders Group: “We had originally planned on breaking the guys into teams. Let's start divying

them up and getting baofeng channels picked out.” Baofeng is a manufacturer of handheld radios

and other communications equipment.

         55.   On January 5, 2021, at 1:23 p.m., PERSON-1 created a new encrypted messaging

group entitled “Boots on Ground” to be used by Proud Boys members in Washington, D.C. In

total, over sixty users participated in the Boots on Ground group, including NORDEAN, BIGGS,

REHL, DONOHOEDonohoe, PEZZOLA, and PERSONS 1 - 3.



                                              16
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 17 of 34




       56.      On January 5, 2021, at 5:25 p.m., BIGGS posted a message to the Boots on Ground

group that read, “Just trying to get our numbers. So we can plan accordingly for tonight and go

over tomorrow’s plan.”

       57.      On January 5, 2021, at 5:52 p.m., BIGGS posted a message to the Boots on Ground

group that read: “We are trying to avoid getting into any shit tonight. Tomorrow's the day” and

then “I’m here with rufio and a good group[.]”

       58.      In response to a question from a participant in the New MOSD Leaders Group,

REHL, who travelled to Washington, D.C., on January 5, 2021, stated that he was bringing

multiple radios with him, and that there was a person who was planning to program the radios later

that evening.

       59.      At 8:00 p.m., PEZZOLA posted a message on Boots on Ground that stated,

“Anybody need coms programmed hit me up.”

       60.      On January 5, 2021, at 8:27 p.m., an MOSD member who was in Washington, D.C.

with NORDEAN and BIGGS posted a message to New MOSD Members Group that read:

“Everyone needs to meet at the Washington Monument at 10am tomorrow morning! Do not be

late! Do not wear colors! Details will be laid out at the pre meeting! Come out at as patriot!” The

same message was posted by PERSON-1 in the Boots on Ground group at 8:28 p.m.

       61.      At 9:03 p.m., REHL notified NORDEAN, BIGGS, DONOHOEDonohoe and

others that he had arrived in Washington, D.C. DONOHOEDonohoe responded by requesting one

of the radios that REHL had brought.

       62.      At 9:09 p.m., PERSON-2 broadcast a message to New MOSD Leaders Group that

read: “Stand by for the shared baofeng channel and shared zello channel, no Colors, be

decentralized and use good judgement until further orders.” PERSON-2 then stated, “Rufio



                                                 17
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 18 of 34




[NORDEAN] is in charge, cops are the primary threat, don't get caught by them or BLM, don't get

drunk until off the street.” PERSON-2 then provided a specific radio frequency of 477.985.

DONOHOEDonohoe reposted the same three messages on the New MOSD Members Group at

9:11 p.m.

         63.   At 9:17 p.m., BIGGS posted a message on the New MOSD Leaders Group that

read, “We just had a meeting woth a lot of guys. Info should be coming out” and then posted “Just

spoke with Enrique.”

         64.   At 9:20 p.m., PERSON-1 added TARRIO to the New MOSD Leaders Group.

         65.   At approximately 9:20 p.m., BIGGS posted a message on the New MOSD Leaders

Group that read, “We have a plan. I’m with rufio [NORDEAN].” DONOHOEDonohoe responded,

“What’s the plan so I can pass it to the MOSD guys.” BIGGS responded, “I gave Enrique a plan.

The one I told the guys and he said he had one.”

         66.   At 9:36 p.m., DONOHOEDonohoe added TARRIO to the New MOSD Members

Group.

         67.   At 12:01 a.m. on January 6, 2021, TARRIO posted a message on the New MOSD

Leaders Group. At 12:03 a.m., DONOHOEDonohoe posted, “Standby” and then reposted the

instructions that had been issued in the Boots on Ground group and the New MOSD Members

Group regarding the plan to meet at the Washington Monument at 10 a.m.

         68.   At 6:37 a.m. on January 6, 2021, DONOHOEDonohoe posted a message to the

New MOSD Leaders Group that asked, “Are we gonna do a commanders briefing before the 10

a.m.?”

         69.   Subsequently, DONOHOEDonohoe posted a message to the New MOSD Members

Group and Boots on Ground group that he was on his way to the Washington Monument.



                                               18
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 19 of 34




DONOHOEDonohoe added, “I have the keys until Rufio [NORDEAN] and Zach [REHL] show

up.”

       70.     On January 6, 2021, at 10:00 a.m., a group of approximately 100 Proud Boys

members gathered near the Washington Monument, including NORDEAN, BIGGS, REHL,

DONOHOEDonohoe, and PEZZOLA.

       71.     Consistent with the directive issued by TARRIO, NORDEAN, BIGGS, REHL,

DONOHOEDonohoe, and others, the group of men standing with NORDEAN, BIGGS, REHL,

DONOHOEDonohoe, and PEZZOLA were not wearing Proud Boys colors of black and yellow.

Several of the men in the group, including BIGGS and REHL, were holding walkie-talkie style

communication devices that members of the MOSD had helped secure. At different times,

NORDEAN and BIGGS carried and used a bullhorn to direct the group.

       72.     Shortly after 10 a.m., NORDEAN and BIGGS led the group away from the rally

that was taking place near the Washington Monument and to the west side of the Capitol. On

arriving at the west side of the Capitol, NORDEAN and BIGGS marched the group along First

Street, Northwest. NORDEAN and BIGGS marched the group past the pedestrian entrance to

Capitol grounds, near the Peace Monument. The First Street pedestrian entrance was guarded by

a handful of Capitol Police officers. Prominent signs posted on metal barriers at the pedestrian

entrance and other locations stated, “AREA CLOSED By order of the United States Capitol Police

Board.”

       73.     NORDEAN and BIGGS marched the group, which included DONOHOEDonohoe

and REHL, to the east side of the Capitol, and then back to the west side of the Capitol.




                                                19
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 20 of 34




       74.     Around 12:00 p.m., DONOHOEDonohoe posted a message on a separate encrypted

group chat with Proud Boys in which he reported that the group was at the Capitol and then later,

“WE ARE WITH 200-300 PBS.”

       75.     Shortly before 12:53 p.m., NORDEAN, BIGGS, and REHL led the group back to

the First Street pedestrian entrance near the Peace Monument. The entrance was secured by a small

number of Capitol Police officers who were standing behind waist height metal barriers. BIGGS

led the assembled crowd in a series of chants using a megaphone. NORDEAN, REHL,

DONOHOEDonohoe, and PEZZOLA stood nearby.

       76.     Seconds before 12:53 p.m., BIGGS was approached by an individual whose

identity is known to the grand jury. The individual put one arm around BIGGS’s shoulder and

spoke to him. Approximately one minute later, this individual crossed the barrier that restricted

access to the Capitol grounds. This was the first barrier protecting the Capitol grounds to be

breached on January 6, 2021, and the point of entry for NORDEAN, BIGGS, REHL,

DONOHOEDonohoe, and PEZZOLA.

       77.     Immediately after the breach, NORDEAN, BIGGS, REHL, DONOHOEDonohoe,

and PEZZOLA, together with assembled members of the crowd, charged toward the Capitol by

crossing over the barriers meant to restrict access to the Capitol grounds.

       78.     NORDEAN, BIGGS, REHL, DONOHOEDonohoe, PEZZOLA, and other

members of the crowd, advanced toward the west plaza of the Capitol where additional metal

barricades and law enforcement were deployed to protect the Capitol and its occupants from the

advancing crowd.

       79.     As BIGGS unlawfully advanced toward the Capitol he recorded himself stating,

“Dude, we’re right in front of the Capitol right now. American citizens are storming the Capitol—



                                                20
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 21 of 34




taking it back right now. There’s millions of people out here; this is fucking crazy. Oh my God!

This is such history! This is insane. We’ve gone through every barricade thus far. Fuck you!”

       80.     Within minutes of unlawfully crossing onto Capitol grounds, NORDEAN, BIGGS,

REHL, DONOHOEDonohoe, PEZZOLA, and other Proud Boys members moved to the front of

the crowd.

       81.     NORDEAN and BIGGS, together with other members of the crowd, tore down a

black metal fence that separated the crowd from law enforcement.

       82.     After tearing down the fence, NORDEAN, BIGGS, REHL, DONOHOEDonohoe,

and PEZZOLA, and many others who had been led by NORDEAN and BIGGS to the Capitol

advanced past the trampled barrier into the west plaza of the Capitol grounds.

       83.     Upon     arriving   at   the     west   plaza,   NORDEAN,         BIGGS,   REHL,

DONOHOEDonohoe, and PEZZOLA positioned themselves at or near the front of the crowd in

the west plaza. While standing at the front of the crowd opposite law enforcement in riot gear,

NORDEAN and BIGGS exchanged a hug and handshake.

       84.     While standing in the west plaza of the Capitol, BIGGS took another video in which

he announced, “we’ve just taken the Capitol.”

       85.     Shortly after 1:00 p.m., messages were posted by PERSON-1 and PERSON-2 in

the New MOSD Leaders Group that stated, “Push inside! Find some eggs and rotten tomatoes!”

and “They deploy the mace yet.” DONOHOEDonohoe posted, “We are trying.”

       86.     PEZZOLA moved toward the front of the police line and ripped away a Capitol

Police officer’s riot shield, while the officer was physically engaging with individuals who had

gathered unlawfully into the west plaza of the Capitol.




                                                 21
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 22 of 34




       87.     DONOHOEDonohoe threw two water bottles at a line of law enforcement officers

engaged in the lawful performance of their official duties who were attempting to prevent the

mob’s advance in the west plaza at the Capitol.

       88.     Shortly thereafter, DONOHOEDonohoe and PEZZOLA combined to carry the riot

shield through the west plaza. After reaching the rear of the concrete area of the west plaza,

DONOHOEDonohoe posted a message at 1:37 p.m. that read, “Got a riot shield.” While standing

at the rear of the plaza, DONOHOEDonohoe took a picture of PEZZOLA holding the riot shield

and making a hand gesture associated with the Proud Boys.

       89.     Around the same time, NORDEAN, BIGGS, and REHL moved to the rear of the

west plaza as well. NORDEAN, BIGGS, and others then moved further away onto the lawn of the

Capitol, where, at 1:27 p.m., BIGGS filmed a selfie-style video with NORDEAN and others who

had marched with them to the Capitol in which BIGGS declared, “So we just stormed the fucking

Capitol. Took the motherfucking place back. That was so much fun.” BIGGS then added, “January

6 will be a day in infamy.”

       90.     Shortly before 2:00 p.m., NORDEAN and BIGGS had moved back toward the

Capitol and were near a set of concrete stairs that led to the Upper West Terrace of the Capitol.

DONOHOEDonohoe and PEZZOLA had also moved to the same area at the base of the stairs.

       91.     DONOHOEDonohoe pushed forward to assist the crowd’s effort to advance up the

concrete stairs toward the Capitol. The crowd overwhelmed law enforcement who were attempting

to stop the crowd from advancing. BIGGS and PEZZOLA traveled up the stairway with the crowd.

       92.     At the top of the flight of stairs leading from the west plaza to the Capitol,

PEZZOLA shouted at Capitol Police officers attempting to prevent the crowd from advancing




                                                  22
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 23 of 34




further, words to the effect of, “We ain’t stopping! We ain’t fucking stopping! Fuck you! . . . You

think Antifa’s fucking bad, just you wait!,” among other things.

        93.    At approximately 2:13 p.m., PEZZOLA used the riot shield he had taken from a

Capitol Police officer to break a window of the Capitol. The first members of the mob entered the

Capitol through this broken window.

        94.    Seconds later, PEZZOLA entered the Capitol through the window he had broken.

Other members of the mob entered the building and forced open an adjacent door from the inside.

        95.    At 2:14 p.m., BIGGS entered the Capitol through the adjacent door with other

MOSD members. Within minutes, the Senate suspended the Certification of the Electoral College

Vote.

        96.    BIGGS subsequently exited the Capitol on the east side of the building, and BIGGS

and several other Proud Boys members posed for a picture at the top of the steps on the east side

of the Capitol. BIGGS also took a video in which he surveyed the crowd and then stated, “We’ve

taken the Capitol.”

        97.    At 2:36 p.m., TARRIO made a public post on social media that read, “After I finish

watching this I’ll make a statement about my arrest...But for now I’m enjoying the show...Do what

must be done. #WeThePeople.”

        98.    NORDEAN entered the Capitol at 2:37 p.m. where he reunited with other Proud

Boys members, who had entered the building with BIGGS.

        99.    At 2:38 p.m., TARRIO made a public post on social media that read, “Don’t

fucking leave.”

        100.   At approximately 2:39 p.m., TARRIO responded to a question posed by a Proud

Boys member—“Are we a militia yet?”—with a one word voice note in which TARRIO stated,



                                                23
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 24 of 34




“Yep.” TARRIO then posted two additional messages that stated, “Make no mistake…” and then

“We did this…”

       101.    At 2:40 p.m., thirty minutes after first entering the Capitol on the west side, BIGGS

and others forcibly re-entered the Capitol through the Columbus Doors on the east side of the

Capitol, pushing past at least one law enforcement officer and entering the Capitol.

       102.    After re-entering the Capitol by force, BIGGS and other Proud Boys he had entered

with traveled to the Senate chamber where the Certification of the Electoral College Vote would

have been occurring, had it not been suspended due to the ongoing attack.

       103.    At 2:41 p.m., TARRIO made a public post on social media that read, “Proud Of

My Boys and my country.”

       104.    REHL entered the Capitol at approximately 2:53 p.m. through the same door first

entered by BIGGS on the west side of the building.

       105.    While NORDEAN and BIGGS were moving in and out of the Capitol, TARRIO

attempted to communicate with them by phone. TARRIO placed a phone call to NORDEAN at

2:53 p.m. and to BIGGS at 2:54 p.m. BIGGS had a 42 second call with TARRIO at 2:54 p.m.

       106.    At 2:57 p.m., TARRIO posted a message on social media that read, “1776” and

then “Revolutionaries are now at the Rayburn building,” which referred to a House of

Representatives office building that had been referenced in the “1776 Returns” plan received by

TARRIO on December 30, 2020.

       107.    At 7:39 p.m., PERSON-1 sent two text messages to TARRIO that read, “Brother.

You know we made this happen[,]” and “I’m so proud of my country today.” TARRIO responded,

“I know.”     At 7:44 p.m., the conversation continued, with PERSON-1 texting, “1776

motherfuckers.” TARRIO responded, “The Winter Palace.” PERSON-1 texted, “Dude. Did we



                                                24
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 25 of 34




just influence history?” TARRIO responded, “Let’s first see how this plays out.” PERSON-1

stated, “They HAVE to certify today! Or it’s invalid.” These messages were exchanged before

the Senate returned to its chamber at approximately 8:00 p.m. to resume certifying the Electoral

College vote.

       107.108.        At 11:16 p.m., TARRIO posted a message on social media that featured a

video of a masked man resembling TARRIO, wearing a flowing black cape, standing in front of a

deserted Capitol. The video was captioned, “Premonition.”

                (In violation of Title 18, United States Code, Section 1512(k))2384)




                                                25
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 26 of 34




                                        COUNT TWO                                                        Formatted: Space Before: 18 pt, Line spacing: single,
                                     (18 U.S.C. § 1512(k))                                               Keep with next, Keep lines together
                        (Conspiracy to Obstruct an Official Proceeding)                                  Formatted: Font: Not Bold, No underline

       109.    Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and

incorporated as though set forth herein.

       110.    From in and around December 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants,

                                      ENRIQUE TARRIO,
                                      ETHAN NORDEAN,
                                        JOSEPH BIGGS,
                                       ZACHARY REHL,
                                             and
                                     DOMINIC PEZZOLA,

did knowingly combine, conspire, confederate, and agree with each other and other persons known          Formatted: Font color: Black

and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official

proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United

States Code, Section 1512(c)(2).

                  (In violation of Title 18, United States Code, Section 1512(k))




                                                 26
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 27 of 34




                                      COUNT THREE
                                 (18 U.S.C. §§ 1512(c)(2), 2)
                          (Obstruction of an Official Proceeding and
                                    Aiding and Abetting)

       108.111.        Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-

alleged and incorporated as though set forth herein.

       109.112.        On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendants,

                                     ENRIQUE TARRIO,
                                     ETHAN NORDEAN,
                                       JOSEPH BIGGS,
                                      ZACHARY REHL,
                                    CHARLES DONOHOE,
                                            and
                                    DOMINIC PEZZOLA,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

certification of the Electoral College vote, and did aid and abet others known and unknown to the

grand jury to do the same.

               (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)




                                                 27
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 28 of 34




                                 COUNT THREEFOUR
                                     (18 U.S.C. § 372)
              (Conspiracy to Prevent an Officer from Discharging Any Duties)

       113.    Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and

incorporated as though set forth herein.

       114.    From in and around December 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants,

                                      ENRIQUE TARRIO,
                                      ETHAN NORDEAN,
                                        JOSEPH BIGGS,
                                       ZACHARY REHL,
                                             and
                                     DOMINIC PEZZOLA,

did knowingly conspire and agree together and with each other to prevent by force, intimidation,

and threat, any person, that is, Members of the United States Congress and law enforcement

officers, from discharging any duties of any office, trust, and place of confidence under the United

States, and to induce by force, intimidation, and threat, any officer of the United States, that is,

Members of the United States Congress and law enforcement officers, to leave the place where

their duties as officers were required to be performed.

                    (In violation of Title 18, United States Code, Section 372)




                                                28
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 29 of 34




                                         COUNT FIVE
                                    (18 U.S.C. § 231(a)(3), 2)
                           (Civil Disorder and Aiding and Abetting)

       110.115.        Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-

alleged and incorporated as though set forth herein.

       111.116.        As set forth in paragraphs 81, 82, and 91, on or about January 6, 2021, in       Formatted: Font: 12 pt

the District of Columbia and elsewhere, the defendants,


                                     ETHAN NORDEAN,
                                       JOSEPH BIGGS,
                                      ZACHARY REHL,
                                    CHARLES DONOHOE,
                                     ENRIQUE TARRIO,
                                            and
                                    DOMINIC PEZZOLA,

committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement

officers, lawfully engaged in the lawful performance of their official duties, incident to and during

the commission of a civil disorder which in any way and degree obstructed, delayed, and adversely

affected commerce and the movement of any article and commodity in commerce and the conduct

and performance of any federally protected function.

                (In violation of Title 18, United States Code, Section 231(a)(3), 2)




                                                 29
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 30 of 34




                                   COUNT FOURSIX
                                   (18 U.S.C. § 1361, 2)
              (Destruction of Government Property and Aiding and Abetting)

       112.117.       Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-

alleged and incorporated as though set forth herein.

       113.118.       As set forth in paragraph 81, on or about January 6, 2021, in the District of

Columbia and elsewhere, the defendants,

                                     ETHAN NORDEAN,
                                       JOSEPH BIGGS,
                                      ZACHARY REHL,
                                    CHARLES DONOHOE,
                                     ENRIQUE TARRIO,
                                            and
                                    DOMINIC PEZZOLA,

did willfully injure and commit depredation against property of the United States, and of any

department and agency thereof, and any property which has been and is being manufactured and

constructed for the United States, and any department and agency thereof, that is a black metal

fence, causing damage in an amount more than $1000.

                  (In violation of Title 18, United States Code, Section 1361, 2)




                                                30
              Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 31 of 34




                                  COUNT FIVESEVEN
                                   (18 U.S.C. § 1361, 2)
              (Destruction of Government Property and Aiding and Abetting)

       114.119.       Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-

alleged and incorporated as though set forth herein.

       115.120.       As set for the in paragraphs 93 and 94, on or about January 6, 2021, in the

District of Columbia and elsewhere, the defendants,

                                     ETHAN NORDEAN,
                                       JOSEPH BIGGS,
                                      ZACHARY REHL,
                                    CHARLES DONOHOE,
                                     ENRIQUE TARRIO,
                                            and
                                    DOMINIC PEZZOLA,

did willfully injure and commit depredation against property of the United States, and of any

department and agency thereof, and any property which has been and is being manufactured and

constructed for the United States, and any department or agency thereof, that is a window adjacent

to the Senate Wing Door of the U.S. Capitol, causing damage in an amount more than $1000.

                  (In violation of Title 18, United States Code, Section 1361, 2)




                                                31
               Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 32 of 34




                                      COUNT SIXEIGHT
                                    (18 U.S.C. § 111(a)(1))
                     (Assaulting, Resisting, or Impeding Certain Officers)

       116.121.         Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-        Formatted: Font color: Auto
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alleged and incorporated as if fullythough set forth herein.                                            between paragraphs of the same style, Widow/Orphan
                                                                                                        control, Keep with next, Keep lines together, Adjust
       117.122.         As set forth in paragraphsparagraph 87, on January 6, 2021, in the District     space between Latin and Asian text, Adjust space
                                                                                                        between Asian text and numbers
of Columbia,                                                                                            Formatted: Font color: Auto
                                                                                                        Formatted: Font color: Auto
                                      ETHAN NORDEAN,
                                        JOSEPH BIGGS,
                                       ZACHARY REHL,
                                     CHARLES DONOHOE,
                                      ENRIQUE TARRIO,
                                             and
                                     DOMINIC PEZZOLA,

with intent to commit a felony, that is, obstruction of an official proceeding, as charged in Count

Two of this indictment, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,

an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), by throwing a water bottle at law enforcement.

                  (In violation of Title 18, United States Code, Section 111(a)(1))

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                                                 32
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 33 of 34




                                       COUNT SEVENNINE
                                       (18 U.S.C. § 111(a)(1))
                        (Assaulting, Resisting, or Impeding Certain Officers)

          118.123.        Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-        Formatted: Font: Times New Roman, 12 pt, Font color:
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alleged and incorporated as if fullythough set forth herein.                                              Formatted: Font: Times New Roman, 12 pt
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          119.124.        As set forth in paragraph 86, on or about January 6, 2021, in the District of   space between paragraphs of the same style, Keep with
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Columbia,                                                                                                 Formatted: Font: Times New Roman, 12 pt
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                                         ETHAN NORDEAN,
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                                           JOSEPH BIGGS,
                                          ZACHARY REHL,                                                   Formatted: Font: Times New Roman, 12 pt, Font color:
                                                                                                          Auto
                                        CHARLES DONOHOE,
                                         ENRIQUE TARRIO,                                                  Formatted: Font color: Auto
                                                and
                                        DOMINIC PEZZOLA,

with intent to commit a felony, that is obstruction of an official proceeding, as charged in Count

Two of this Indictment, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,

an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), and did make physical contact with that officer

and employee, while such person was engaged in and on account of the performance of official

duties.

                     (In violation of Title 18, United States Code, Section 111(a)(1))




                                                    33
                Case 1:21-cr-00175-TJK Document 434-1 Filed 08/19/22 Page 34 of 34




                                     COUNT EIGHTTEN
                                       (18 U.S.C. § 2112)
                       (Robbery of Personal Property of the United States)

          120.125.       Paragraphs 1 through 10724 and 29 through 108 of this Indictment are re-         Formatted: Don't add space between paragraphs of
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alleged and incorporated as if fullythough set forth herein.                                              Keep lines together, Adjust space between Latin and
                                                                                                          Asian text, Adjust space between Asian text and
                                                                                                          numbers
          121.126.       As set forth in paragraphsparagraph 86, on or about January 6, 2021, in the

District of Columbia,

                                       DOMINIC PEZZOLA,

by force and violence and by intimidation, did take and attempt to take, from the person and

presence of a Capitol Police officer, personal property belonging to the United States, that is, a riot

shield.

                     (In violation of Title 18, United States Code, Section 2112)




                                                       A TRUE BILL




                                                       FOREPERSON




MATTHEW M. GRAVES
U.S. ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA




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